  COABY         *              PUBLIC INFORMATION            *     07-02-2019
PAGE 001        *                  INMATE DATA               *     10:32:48
                                AS OF 07-02-2019

REGNO..: 50328-018 NAME: FRIEDLANDER, CHARLES JACKSON

                    RESP OF: BUF
                    PHONE..: 919-575-5000   FAX: 919-575-5023
                                            RACE/SEX...: WHITE / MALE
                                            AGE: 89
PROJ REL MT: GOOD CONDUCT TIME RELEASE      PAR ELIG DT: N/A
PROJ REL DT: 01-29-2035                     PAR HEAR DT:




G0002       MORE PAGES TO FOLLOW . . .
  COABY           *              PUBLIC INFORMATION                *     07-02-2019
PAGE 002          *                  INMATE DATA                   *     10:32:48
                                  AS OF 07-02-2019

REGNO..: 50328-018 NAME: FRIEDLANDER, CHARLES JACKSON

                   RESP OF: BUF
                   PHONE..: 919-575-5000    FAX: 919-575-5023
HOME DETENTION ELIGIBILITY DATE: 07-29-2034

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
THE INMATE IS PROJECTED FOR RELEASE: 01-29-2035 VIA GCT REL

----------------------CURRENT JUDGMENT/WARRANT NO: 010 ------------------------

COURT OF JURISDICTION...........:     FLORIDA, MIDDLE DISTRICT
DOCKET NUMBER...................:     8:08-CR-318-T-27TGW
JUDGE...........................:     WHITTEMORE
DATE SENTENCED/PROBATION IMPOSED:     07-21-2009
DATE COMMITTED..................:     09-08-2009
HOW COMMITTED...................:     US DISTRICT COURT COMMITMENT
PROBATION IMPOSED...............:     NO

                   FELONY ASSESS    MISDMNR ASSESS FINES             COSTS
NON-COMMITTED.:    $100.00          $00.00         $25,000.00       $00.00

RESTITUTION...:    PROPERTY:   NO   SERVICES:   NO       AMOUNT:    $00.00

-------------------------CURRENT OBLIGATION NO: 010 ---------------------------
OFFENSE CODE....: 512
OFF/CHG: 18:2422(B) CHILD ENTICEMENT (CT.1)

 SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
 SENTENCE IMPOSED/TIME TO SERVE.:   360 MONTHS
 TERM OF SUPERVISION............: LIFE
 DATE OF OFFENSE................: 07-21-2008




G0002       MORE PAGES TO FOLLOW . . .
  COABY         *             PUBLIC INFORMATION                *      07-02-2019
PAGE 003 OF 003 *                 INMATE DATA                   *      10:32:48
                               AS OF 07-02-2019

REGNO..: 50328-018 NAME: FRIEDLANDER, CHARLES JACKSON

                   RESP OF: BUF
                   PHONE..: 919-575-5000    FAX: 919-575-5023
-------------------------CURRENT COMPUTATION NO: 010 --------------------------

COMPUTATION 010 WAS LAST UPDATED ON 04-25-2012 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 09-22-2009 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010

DATE COMPUTATION BEGAN..........: 07-21-2009
TOTAL TERM IN EFFECT............:   360 MONTHS
TOTAL TERM IN EFFECT CONVERTED..:    30 YEARS
EARLIEST DATE OF OFFENSE........: 07-21-2008

JAIL CREDIT.....................:     FROM DATE    THRU DATE
                                      07-25-2008   08-22-2008
                                      12-16-2008   07-20-2009

TOTAL PRIOR CREDIT TIME.........:   246
TOTAL INOPERATIVE TIME..........:   0
TOTAL GCT EARNED AND PROJECTED..:   1387
TOTAL GCT EARNED................:   513
STATUTORY RELEASE DATE PROJECTED:   01-29-2035
EXPIRATION FULL TERM DATE.......:   11-16-2038
TIME SERVED.....................:       10 YEARS    7 MONTHS        13 DAYS
PERCENTAGE OF FULL TERM SERVED..:     35.4

PROJECTED SATISFACTION DATE.....: 01-29-2035
PROJECTED SATISFACTION METHOD...: GCT REL




S0055       NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE
